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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF MISSISSIPPI
                                    JACKSON DIVISION

UNITED STATES OF AMERICA

V.                                                               CRIMINAL NO. 3:09cr58DCB-FKB

JIMMY W. GATHRITE, et al

                               FINAL ORDER OF FORFEITURE

        WHEREAS, on October 20, 2009, this Court entered an Agreed Preliminary Order of

Forfeiture, ordering defendant JIMMY W. GATHRITE to forfeit One 2006 Dodge Magnum,

VIN #2D4FV47T56H433145(the Subject Property), and

        WHEREAS, the United States caused to be published via the internet at www.forfeiture.gov,

notice of this forfeiture and of the intent of the United States to dispose of the property in accordance

with the law and as specified in the Preliminary Order, and further notifying all third parties of their

right to petition the Court within thirty (30) days for a hearing to adjudicate the validity of their

alleged legal interest in the property; and

        WHEREAS, no other potential claimants were known; and

        WHEREAS, no timely claim has been filed; and

        WHEREAS, the Court finds that defendant had an interest in the property that is subject to

forfeiture pursuant to Title 21, United States Code, Section 853;

        NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that One

2006 Dodge Magnum, VIN #2D4FV47T56H433145 is hereby forfeited to the United States of

America pursuant to Title 21, United States Code, Section 853.

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right, title and interest

to the property described above is hereby condemned, forfeited and vested in the United States of
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America, and shall be disposed of according to law; and

       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order; and

       SO ORDERED, ADJUDGED, AND DECREED this                8th day of     March    , 2010.


                                                 s/ David Bramlette
                                              HONORABLE DAVID C. BRAMLETTE, III
                                              UNITED STATES DISTRICT JUDGE
